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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 Christopher McCalley and Marilyn McCalley
 Individually and as Parents of Patrick
 McCalley, Deceased;

                Plaintiffs,                           Case No: 1:18-cv-03368-RLY-MPB
 v.

 Carmel Clay School Corporation, doing
 business through the Board of School Trustees
 of the Carmel Clay Schools, Carmel High
 School, City of Carmel, Toby Steele, Nicholas
 Wahl, and Carmel Police Officer Phil Hobson,

                Defendants.

                           BRIEF IN SUPPORT OF
             MOTION TO DISMISS CLAIMS AGAINST NICHOLAS WAHL

       Plaintiffs filed this lawsuit seeking to assert federal constitutional claims and state law tort

claims, for the death of Patrick McCalley. Plaintiffs, Christopher and Marilyn McCalley, have

asserted that their son, Patrick McCalley committed suicide on October 6, 2016 as a result of the

conduct of the events outlined in their Complaint. As shown below, the Plaintiffs have failed to

state a claim against Defendant Nicholas Wahl, and Defendants request that Nicholas Wahl be

dismissed as a party to this suit pursuant to Fed. R. Civ. Pro. 12(b)(6).

       The only fact-based allegation in the Complaint relating to Nicholas Wahl is as follows:

                “At all relevant times herein Defendant Nicholas Wahl, as Superintendent
                of Carmel Clay School Corporation, was a managing agent, charged with
                the duties of the general administration of the school district, including, but
                not limited to, Carmel High School, hiring of teachers, safety of student
                population, training and oversight of staff and school operations at Carmel
                High School, among other responsibilities. Mr. Wahl is sued in his official
                capacity.” [Paragraph 8]

       “To survive a motion to dismiss under Rule 12(b)(6), a complaint must state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The


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complaint must contain “factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

Factual allegations are accepted as true at the pleading stage, but “allegations in the form of legal

conclusions are insufficient to survive a Rule 12(b)(6) motion.” McReynolds v. Merrill Lynch &

Co., Inc., 694 F.3d 873, 885 (7th Cir.2012) (citing Iqbal, 556 U.S. at 678). Putting a defendant on

notice of a claim is not the same as stating a claim that can survive a Rule 12(b)(6) motion to

dismiss. Adams v. City of Indianapolis 742 F.3d 720, 729 (7th Cir. 2014).

       Plaintiffs have named Nicholas Wahl, the former Superintendent of Carmel Clay School

Corporation, as a defendant in his official capacity. They have also separately named the Carmel

Clay School Corporation as a defendant. The official capacity claim against Wahl as the

Superintendent of the School Corporation and the claims against the School Corporation itself are

redundant. A claim against an individual in his official capacity is “in all respects other than name,

to be treated as a suit against the [public] entity ... for the real party in interest is the entity.”

Kentucky v. Graham, 473 U.S. 159, 165–66 (1985). Because the School Corporation is the real

party in interest here, the official-capacity claims against Nicholas Wahl shall be dismissed as

duplicative of the claims against the School Corporation. See Bratton v. Town of Fortville, 2010

WL 2291853, at *5 (S.D. Ind. June 2, 2010).

       Even assuming the allegations in the Complaint are true, Plaintiffs have failed to state any

facts that allows the court to draw the reasonable inference that the Nicolas Wahl is liable to

Plaintiffs for the misconduct alleged. The Complaint does not contain any assertion that Nicholas

Wahl was personally involved in the alleged wrongful conduct. Thus, there is no factual basis to

support an entitlement to relief from Nicholas Wahl, under any of the legal theories asserted in the

Complaint.




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       The claims which Plaintiffs seek to assert against Nicholas Wahl should be dismissed,

with prejudice, pursuant to Fed. R. Civ. Pro. 12(b)(6) for failure to state a claim upon which

relief can be granted.

                                              Respectfully Submitted,

                                              /s/ Liberty L. Roberts
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                                              Attorney for Defendants Carmel Clay School
                                              Corporation, Carmel High School, Toby Steele and
                                              Nicholas Wahl
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of December 2018, a true and exact copy of the

foregoing was filed electronically via the Court’s Electronic filing system. Notice of this filing

was sent to the following persons by operation of the Court’s Electronic filing system.

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                                              /s/ Liberty L. Roberts
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